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                       UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE



  Randall C. Lohan                                                                  U.S. Courthouse
   Clerk of Court                                                                  844 N. King Street
                                                                                         Unit 18
   Robert L. Rebeck                                                               Wilmington, DE 19801
    Chief Deputy                                                                     (302) 573-6170




                                           May 22, 2025



TO:

 Chumahan Benjamin Bowen                                L. Ashley Aull
 Wilshire Law Firm, PLC                                 Munger Tolles and Olson LLP
 3055 Wilshire Boulevard 12th Floor                     350 South Grand Avenue 50th Floor
 Los Angeles, CA 90010                                  Los Angeles, CA 90071-3426

RE:    USDC/DE Case no. 1:25-cv-0633-UNA
       Central District of California Case no. 2:25-cv-02043-MCS-KS
       Alessandro Schiassi et al v. Intel Corporation et al

Dear Counsel:

The above referenced action was transferred to the U.S. District Court on 5/22/2025.

        Pursuant to Local Rule 83.5 (Local Rules of Civil Practice and Procedure of the United
States District Court for the District of Delaware, effective August 1, 2016) it is required that all
parties associate themselves with local counsel. Local Rule 83.5 (d) and (e) read as follows:

        (d) Association with Delaware Counsel required. Unless otherwise ordered, an attorney
not admitted to practice by the Supreme Court of the State of Delaware may not be admitted pro
hac vice in this Court unless associated with an attorney who is a member of the Bar of this
Court and who maintains an office in the District of Delaware for the regular transaction of
business (“Delaware counsel”). Consistent with CM/ECF Procedures, Delaware counsel shall be
the registered users of CM/ECF and shall be required to file all papers. Unless otherwise ordered,
Delaware counsel shall attend proceedings before the Court.

        (e) Time to Obtain Delaware Counsel. A party not appearing pro se shall obtain
representation by a member of the Bar of this Court or have its counsel associate with a member
of the Bar of this Court in accordance with D.Del. LR 83.5(d) within 30 days after:
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        (1) The filing of the first paper filed on its behalf; or
        (2) The filing of a case transferred or removed to this Court.

       Failure to timely obtain representation shall subject the defaulting party to appropriate
sanctions under D.Del. LR 1.3(a).


        Please have your local counsel enter an appearance on or before 6/23/2025.

                                                             Sincerely,

                                                              Randall C. Lohan
                                                             CLERK OF COURT
s/cdd
